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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA
                                   READING DIVISION

Kimberly Rhoads                                          Case No.:
13 Darlin Dr.
West Lawn, PA 19609                                      Judge:

         Plaintiff,                                         COMPLAINT FOR DAMAGES
                                                              UNDER THE FAIR DEBT
v.                                                        COLLECTION PRACTICES ACT AND
                                                             OTHER EQUITABLE RELIEF
Vengroff, Williams & Associates, Inc.
c/o Apple & Apple, PC, Registered Agent
4650 Baum Blvd.                                           JURY DEMAND ENDORSED HEREIN
Pittsburgh, PA 15213

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around June 1, 2009, Plaintiff retained an attorney to file bankruptcy.

8. On or around July 6, 2010, Defendant telephoned Plaintiff.




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9. During this communication, Plaintiff notified Defendant that Plaintiff was represented by a

    bankruptcy attorney and provided Plaintiff’s attorney’s contact information.

10. Despite this notice, Defendant telephoned Plaintiff several times thereafter.

11. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

    anxiety and stress.

12. Defendant violated the FDCPA.

                                            COUNT ONE

                          Violation of the Fair Debt Collection Practices Act

13. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

14. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

    Plaintiff’s notice that Plaintiff was represented by an attorney.

                                            COUNT TWO

                          Violation of the Fair Debt Collection Practices Act

15. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

16. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

17. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

18. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.




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b. For such other legal and/or equitable relief as the Court deems appropriate.



                                         Respectfully Submitted,

                                         Legal Helpers, P.C.

                                         By: /s/ Thomas M. Nicely
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